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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


    MICHAEL GONIDAKIS, et al.,
                       Plaintiffs,

           v.

    FRANK LAROSE, in his official capacity,        Case No. C:CC-cv-FFG
                        Defendant,
                                                   Chief Judge Algenon L. Marbley
    and
                                                   Circuit Judge Amul R. Thapar
    SENATOR VERNON SYKES and HOUSE
    MINORITY LEADER ALLISON RUSSO, in their        Judge Benjamin J. Beaton
    capacities as members of the Ohio
    Redistricting Commission,                      (Three-Judge District Court)
                         Intervenors-
                         Defendants.


                Intervenors-Defendants Senator Vernon Sykes and House Minority
                  Leader Allison Russo’s Supplemental Post-Hearing Reply Brief
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                                           INTRODUCTION

          A federal court fashioning a reapportionment plan is required to select the plan that follows

   state policy to the greatest extent possible while complying with federal law. White v. Weiser, 412

   U.S. 783, 795 (1973). A state’s clearest pronouncements of its policy are found in its constitution

   and statutes. So when, as here, a court is presented with one plan that satisfies federal law and state

   law and another plan that satisfies federal law but violates state law, the choice for the court is

   easy: it must order the use of the plan that comports with the law of both sovereigns.

          The plaintiffs nonetheless ask this Court to choose a plan that violates the Ohio

   Constitution out of “deference” to the Ohio Redistricting Commission. But there is no basis for

   “deference” to a proposal that violates state law. That’s because a state’s policy is not determined

   by the unbridled discretion of elected officials, who are constrained by the laws that vest them with

   authority and, ultimately, the state’s constitution. When they transgress those limits, their decisions

   reflect no more than their personal preferences, not the policy of the state.

          To see why, consider the implications of the plaintiffs’ rule in a noncontroversial

   hypothetical. The Ohio Constitution requires 99 seats in the Ohio House of Representatives and

   33 in the Senate. Ohio Const. art. XI, § 1(C). Assume if, in response to a federal court striking

   down a General Assembly plan as malapportioned, a party asked the federal court to implement a

   Redistricting Commission map that fixed the one-person-one vote problem but created an equal

   number of House and Senate seats. Would the federal court be bound to order that plan be used in

   an upcoming election?

          The answer is surely no, lest the Redistricting Commission be given carte blanche to amend

   the Ohio Constitution. Rather, the elementary principles that govern court-ordered remedial plans

   leave no doubt about the appropriate remedy in this case (if one is necessary). The 2011 map, the




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   Third Plan, and the Fourth Plan each squarely violates the Ohio Constitution and, consequently,

   the relevant policy of the state. Because the Johnson/McDonald Plan, by contrast, complies with

   the substantive commands of the Ohio Constitution, it best reflects state policy and should be used

   in the upcoming election if Ohio does not develop its own map prior to April 20.

          This Court also has authority to order use of an interim map and move the date of the

   primary if Ohio officials fail to act. Under the circumstances presented here, where there is

   minimal time before the general election process must begin and it is unclear how a general

   election could be carried out without a primary, the failure to hold one would violate the plaintiffs’,

   and all Ohioans’, federal rights. To protect against that result, this Court may order the use of a

   map. And because the current primary date, like the absence of a map, threatens those federal

   rights in the same way, the Court likewise has authority to postpone that date. But to respect

   federalism and the State’s primacy in setting its own apportionment standards, that interim map

   must comply with not just federal, but also state, substantive constitutional law.

                                              ARGUMENT

   I.     This Court must select the map that best complies with state policy: the
          Johnson/McDonald Plan.

          A.      The 2011 map is administratively unworkable and constitutionally defective.

          The 2011 map is not a viable option. At the outset, far from representing the status quo,

   there are serious doubts that Secretary LaRose could even comply with an order directing him to

   use the 2011 map. His office no longer possesses the electronic files necessary to carry out an

   election under the 2011 map. ECF No. 164 at 14. It is unclear whether they could be recreated at

   all. But at a minimum, it would be a “very difficult and time-consuming task,” and the Secretary

   has provided no assurance that he could complete it in time for the state to hold a primary on

   August 2. Id.; see also id. at 3 (“Secretary LaRose’s office does not possess the original 2011


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   electronic data files . . . and is not certain where they could be found, even assuming they exist.”).

   Given the available alternatives, there is no reason for this Court to require the Secretary to attempt

   that burdensome endeavor and put the primary and general elections at risk.

          But there is a more basic reason to reject the 2011 map: It fails each of the two requirements

   that the Supreme Court has set forth for court-ordered remedial apportionment plans. First, as all

   parties agree, the 2011 map violates federal law because it is malapportioned. ECF No. 160 at 18;

   ECF No. 161 at 3; ECF No. 164 at 12-13. The plaintiffs ask this Court to disregard that federal

   infirmity for this election only, ECF No. 160 at 19, but they cite no authority for the proposition

   that it is permissible to order an election under an unconstitutional map when time remains to

   implement a constitutional one.1 Second, the 2011 map violates, not follows, state policy. Not only

   does it violate the Ohio Constitution’s anti-gerrymandering provisions, see ECF No. 162 at 5, but

   given the universal agreement that the map is now malapportioned, it is also indisputable that the

   map violates Ohio’s independent population-equality requirement. See Ohio Const. art. XI, §

   3(B)(1).

          Simply put, the 2011 map inflicts federal injuries, fails to follow state policies mandated

   by the Ohio Constitution, and risks that the primary may not be held in a timely fashion at all. It is

   not an appropriate remedy.

          B.      The Court cannot order Secretary LaRose to implement the Third or Fourth
                  Plan.

          In asking this Court to adopt the Third or Fourth Plan, the plaintiffs make no claim that

   either complies with the Ohio Constitution. Instead, they deride the charter governing the people


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             Watkins v. Mabus, 771 F. Supp. 789 (S.D. Miss. 1991), which the plaintiffs invoke as
   support for using the 2011 map, is not to the contrary. In addition to identifying a litany of
   problems, including potential violations with the Voting Rights Act, with the plans submitted by
   the parties, the court explained that, “if elections are to be timely held, they must be held pursuant
   to existing law,” i.e., the malapportioned map. Id. at 801. That is not the case here.

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   of Ohio as “more statutory than capital ‘C’ constitutional” and urge this Court to disregard its

   substantive mandates either out of “deference” to the preferences of some members of the

   Redistricting Commission or, joined by Secretary LaRose, for reasons of administrative

   convenience. ECF No. 160 at 18. These arguments fundamentally misunderstand the basis for

   federal-court-deference to state policies, find no support in the case law, and should be rejected.

          1. To repeat: a federal court setting an interim apportionment plan must follow state

   policies unless they conflict with federal law. White, 412 U.S. at 796. This directive requires

   federal courts to follow valid state constitutional provisions and laws that speak directly to the

   method of drawing a map. Thus, as we previously explained, in Beens, a district court was required

   to follow Minnesota’s valid law setting the number of seats in the state’s legislature when crafting

   an interim plan. Sixty-Seventh Minnesota State Senate v. Beens, 406 U.S. 187, 197 (1972). In that

   case, the governor had adopted a different “current policy,” but the U.S. Supreme Court made clear

   that such a policy could not justify departing from the controlling state law; only a conflict with

   federal law could. Id. at 197, 199.

          Ordering the implementation of the Third or the Fourth Plan would contravene this basic

   framework. The plaintiffs do not contend that either Plan complies with the Ohio Constitution.

   Nor can they—both plans blatantly violate it. The Ohio Supreme Court, the authoritative voice on

   the state’s constitution, already held that the Third Plan is unconstitutional. League of Women

   Voters of Ohio v. Ohio Redistricting Comm’n, 2022-Ohio-789, ¶¶ 25–42 (March 16, 2022) (per

   curiam). And the Fourth Plan, the plaintiffs admit, is essentially the same. ECF No. 160 at 16.

   Using one of those plans anyway would be unlawful. It would displace the Ohio Constitution

   despite the availability of constitutionally compliant alternatives—the McDonald/Johnson Plan




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   and the Rodden Plan—and thus despite the absence of an “unavoidable conflict” with federal law.

   Reynolds v. Sims, 377 U.S. 533, 584 (1964). That is not permissible.

          For that reason, courts have consistently rejected proposed remedial maps that violate state

   substantive law. Consider Farnum v. Burns, 561 F. Supp. 83 (D.R.I. 1983) (three-judge court),

   which in many ways resembles this case. With no map in place for the upcoming 1982 election,

   the government-defendants proposed that the court order the use of a map that was not set to take

   effect until the 1984 election. Id. at 87, 90 n.1. The court declined to order use of the 1984 map in

   full because it violated state law. In particular, the drawing of certain districts violated the Rhode

   Island Constitution’s requirement of compactness—a mandate “intended to . . . prevent the

   political gerrymander.” Id. at 90. The court therefore jettisoned those portions of the map. But for

   the remaining components of the 1984 map, untainted by any violation of the state constitution,

   the court held that deference was proper. Id. at 92 & n.13.

          Other courts presented with proposed remedial plans that violate state law have similarly

   refused to adopt them. See, e.g., Large v. Fremont Cnty., 670 F.3d 1133, 1146 (10th Cir. 2012)

   (rejecting proposed plan that called for one single-member district and one four-member district,

   which state law did not permit); Montes v. City of Yakima, 2015 WL 11120964, at *5 (E.D. Wash.

   Feb. 17, 2015) (“If the plan proposed by Defendants conflicts with the policy choices of the

   Washington State legislature, it is owed no deference.”); McMillan v. Escambia Cnty.,, 559 F.

   Supp. 720, 725 (N.D. Fla. 1983) (rejecting proposed plan that called for seven-member board of

   commissioners when constitution required five members); cf. Harper v. City of Chicago Heights,

   223 F.3d 593, 601 (7th Cir. 2000) (reversing remedial plan that required “cumulative voting” not

   permitted by state law).




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             2. The plaintiffs claim that this Court still must order the adoption of the Third or Fourth

   plan because “deference” to the Redistricting Commission is required “even if [a proposed]

   legislative plan may violate state law.” ECF No. 160 at 13. But they identify no case in which a

   federal court ordered use of a map that violated the substantive mandates of state law. Instead, they

   point to a trio of cases that involved a violation of state procedural requirements that govern the

   enactment of an apportionment plan. See Tallahassee Branch of NAACP v. Leon Cnty., 827 F.2d

   1436 (11th Cir. 1987) (proposed plan not submitted to voters for approval); Navajo Nation v. Ariz.

   Indep. Redistricting Comm’n, 230 F. Supp. 2d 998 (D. Ariz. 2002) (proposed plan not enacted in

   compliance with open meeting laws); Straw v. Barbour Cnty., 864 F. Supp. 1148 (M.D. Ala. 1994)

   (same).

             That difference matters because procedural defects, unlike substantive violations, must be

   set aside to protect federal rights. A court ordering an interim map will, by definition, fail to comply

   with certain state-law procedural requirements for enacting a map through the legislative process.

   Take Leon County—one of the plaintiffs’ cases. There, state law required the Leon County

   Commission to submit a redistricting change to voters for approval, which the Commission failed

   to do before presenting its plan to the court. 827 F.2d at 1437. The Eleventh Circuit rejected an

   argument that this procedural deficiency precluded deference to the substance of the Commission’s

   proposal. Id. at 1440. And that makes sense. Whether the court chose the Commission’s proposal

   or one from the plaintiff, the result would be the same: the court’s order would not have been

   submitted to the vote of the people of Leon County for approval. It would achieve nothing to reject

   a plan because of a defect that the alternative also possesses.2



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            There are still other reasons to reject these cases. Navajo Nation and Straw held that
   “exigent circumstances” justified deference to a legislative proposal despite a violation of state



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           In this way, strict compliance with procedural requirements would prevent any map from

   being used and thus stand as an obstacle to the vindication of federal rights. So, the existence of

   that defect in all options justifies setting it aside to protect the federal rights at issue—it presents

   the requisite “unavoidable conflict.” But when, as here, the alternatives do comply with the state’s

   substantive requirements, setting those requirements aside serves no federal end.

           Ordering a map that contains a procedural defect is different for a second reason: It does

   not result in a court ordering state officials to violate state laws. At the end of the day, courts in

   apportionment cases are asked to enjoin a defendant, here Secretary LaRose, to carry out an

   election. If the map violates state substantive law—for instance, if the state constitution calls for a

   legislature containing between 40 and 60 seats but the map has only 20—then the election official

   is forced to violate state law or face contempt sanctions. But if the map was merely proposed to

   the court after a deficient process—for instance, a government-defendant failed to comply with an

   open-meeting law before proposing a 50-seat map—the election official subject to the injunction

   violates no state law in complying with the court’s order. Unless absolutely necessary, a federal

   court should not order a state official to contravene state law. See, e.g., Cleveland Cnty. Ass’n for

   Gov’t by People v. Cleveland Cnty. Bd. Of Comm’rs, 142 F.3d 468, 477 (D.C. Cir. 1998) (“[I]f a

   violation of federal law necessitates a remedy barred by state law, the state law must give way; if

   no such violation exists, principles of federalism dictate that state law governs.”); Kasper v. Bd.




   law. Here, that exigency is lacking, as Secretary LaRose has represented that his office can conduct
   an election under the alternative maps so long as this Court issues an order by April 20 (and he
   receives the necessary electronic files by the same date). Leon County, for its part, rested its
   decision on a misinterpretation of Supreme Court case law, see Large v. Fremont Cnty., 670 F.3d
   1133, 1143 (10th Cir. 2012), and has been applied narrowly by courts in the Eleventh Circuit, see,
   e.g., Georgia State Conf. of NAACP v. Fayette Cnty. Bd. of Comm’rs, 996 F. Supp. 2d 1353, 1369
   (N.D. Ga. 2014) (collecting cases).



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    Of Election Comm’rs of the City of Chicago, 814 F.2d 332, 341 (7th Cir. 1987) (affirming rejection

    of consent decree that “commits the [state] Board to violate state law” when not necessary to

    protect federal rights).

            In this case, ordering Secretary LaRose to implement the Third or Fourth Plan would be to

    order him to defy the Ohio Supreme Court. As he has explained, “as a statewide official who swore

    an Oath to obey Ohio’s Constitution,” he cannot faithfully execute that duty if “this court order[s]

    the use of a Redistricting Plan that a majority of the Supreme Court of Ohio has ruled violated

    Article XI of the Ohio Constitution.” ECF No. 113 at 8. Unless that extreme step is necessary to

    protect a federal right, that cannot be done. And, because of the alternatives available here, it is

    not.

            The plaintiffs assert that North Carolina v. Covington, 138 S. Ct. 2548 (2018) (per curiam),

    counsels otherwise, but that is wrong. To start, in that case, the plaintiffs asked, and the district

    court agreed, to strike down a North Carolina map on state law grounds unrelated to their injury

    of being subjected to racial gerrymandering. Id. at 2554; cf. Covington v. North Carolina, 283 F.

    Supp. 3d 410, 424 (M.D.N.C. 2018) (three-judge court) (considering argument that new map

    mooted the plaintiffs’ claims). No one here asks this Court to invalidate a map—much less to do

    so in a way that would not redress the injury claimed. Rather, the question for this Court is what

    map to affirmatively order be implemented. Just as respect for the state’s role in Covington

    necessitated that the federal court not toss out a map on state-law grounds, respect for state policy

    choices here demands that this Court not affirmatively order a gratuitous violation of state law.

            In any event, even if the district court’s remedial task in Covington were analogous—and

    it is not—Covington also involved a procedural defect. The plaintiffs asserted that North

    Carolina’s new map was improper because it was drawn mid-decade (after a prior map was struck




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    down for violating federal law). Id. But of course, the alternative—a map drawn by a court-

    appointed special master—also could not comply with the North Carolina Constitution’s timing

    requirements. Thus, strict adherence with North Carolina’s procedural requirements would

    preclude a map from ever being enacted.

           3. Nor can the plaintiffs’ and Secretary LaRose’s claims of administrative convenience

    justify use of the Third or Fourth Plan. The principles that underlie the requirement that federal

    courts follow state policy to the greatest extent possible make that clear.

           Our system of federalism, and the requirement that a federal court follow state policy when

    fashioning a remedial map that derives from it, exists not as an abstract principle, but to “secure[]

    the freedom of the individual.” Bond v. United States, 564 U.S. 211, 221 (2011). By restraining

    the power of federal actors, this structure “makes government more responsive” to individual

    citizens and “more sensitive to the diverse needs of a heterogenous society.” Gregory v. Ashcroft,

    501 U.S. 452, 458 (1991). These fundamental protections of individual liberty may be trampled

    on in the name of administrative convenience no more than the other core protections that the

    Constitution provides. See, e.g., Americans for Prosperity Found. v. Bonta, 141 S. Ct. 2373, 2389

    (2021) (infringement on First Amendment rights not justified by claim of “administrative

    convenience”); Craig v. Boren, 429 U.S. 190, 198 (1976) (rejecting “administrative ease and

    convenience as sufficiently important objectives to justify gender-based classifications”);

    Associated Gen. Contractors of Ohio, Inc. v. Drabik, 214 F.3d 730, 737 (6th Cir. 2000) (“simple

    administrative convenience” cannot justify discrimination).

           Tellingly, neither Secretary LaRose nor the plaintiffs cite a single case that treats maximum

    administrative simplicity as a basis for overriding valid state laws. Logistical burdens only take

    precedence over federal and state law when “necessity” requires; that is, when an election could




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    not be held without displacing those laws. Upham v. Seamon, 456 U.S. 37, 44 (1982). Because the

    Secretary admits that an election may be held on August 2 under any map (other than the 2011

    map) that this Court orders by April 20, the comparative administrative ease or difficulty of

    implementing various maps cannot dictate the outcome here.

           C.      The Johnson/McDonald Plan complies with the Ohio Constitution and is the
                   most appropriate remedy, if one is necessary.

           Unlike the maps that the plaintiffs present, the Johnson/McDonald Plan adheres to the

    substantive requirements of the Ohio Constitution. Senator Sykes and Leader Russo also agree

    that, in considering the Plan, the Court should take account of the modifications made by Dr.

    Megan Gall and submitted to the Court by intervenor-plaintiff Ohio Organizing Collaborative.

    ECF No. 165 at 11–13; cf. Brown v. Jacobsen, 2022 WL 683089, at *13 (D. Mont. Mar. 8, 2022)

    (implementing map submitted by defendant with modification).

           The plaintiffs do not contest that the Johnson/McDonald Plan complies with the Ohio

    Constitution’s substantive requirements. Instead, they invoke two purported procedural defects as

    a reason for this Court to reject it. Neither provides a valid basis to do so.

           First, the plaintiffs are wrong that the failure of the Redistricting Commission to adopt the

    Johnson/McDonald Plan precludes this Court from ordering its implementation. That is a

    procedural defect that, as we have just explained, need not stand as a barrier to a court selecting a

    remedial map. Indeed, every map drawn by a special master and implemented by a court fails, by

    definition, to secure a vote by a state legislature or adoption by its redistricting commission. Nor

    does it matter that the Redistricting Commission voted against the version of the

    Johnson/McDonald Plan presented to the Commission on March 28. That, too, is a procedural

    defect and it is, in any event, irrelevant. Dr. Gall’s modifications, which this Court can and should

    incorporate into its order, are responsive to the concerns that the Redistricting Commission raised


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    (and that the plaintiffs refer to as “technical flaws,” ECF No. 160 at 22). Thus, the Commission’s

    members have not voted for or against the version of the Plan that Senator Sykes and Leader Russo

    ask the Court to implement.

           Second, the plaintiffs assert in a single sentence that certain portions of the map were

    somehow “not approved” by the independent mapmakers. See ECF No. 160 at 22. That is

    nonsense.3 As Dr. Johnson—on whom the plaintiffs rely for the specious argument—has made

    clear, the mapmakers could “incorporate” any proposals or suggestions made by staff “into our

    maps” only if “both sides agreed.” ECF No. 160-1 at 3. Moreover, the entire map-drawing process

    was undertaken “in public on live web stream camera.” See ECF No. 150 at 123. It remains

    available online and it speaks for itself. See The Ohio Channel, Ohio Redistricting Commission -

    Workroom - 3-28-2022 - 3:00pm-11:00pm, https://bit.ly/378tOal. Had the plaintiffs watched, they

    would have seen that the mapmakers frequently asked for, and received, technical advice and

    assistance from staff in the room, which included Mr. Glassburn—a point that was specifically

    explained both at the hearing and by Dr. Johnson himself. See ECF No. 150 at 123; ECF No. 160-

    1 at 3. Ultimately, as Dr. Johnson has confirmed, the “final map” was one “that Dr. McDonald and

    I drew.” Id.

    II.    This Court possesses the authority to order use of an interim map and to move the
           primary date.

           In its supplemental order, the Court directed the parties to address (1) whether there is a

    federal right to vote in a primary when state law requires it, (2) whether—and, if so, how—Ohio

    could hold a general election without a primary, and (3) whether the Court has authority to move



           3
             It is also beside the point. Although the McDonald/Johnson Plan does have the benefit of
    being developed under procedures outlined by the Ohio Supreme Court, that is, as we have
    explained, not necessary. This Court’s primary responsibility is to select the map that best complies
    with the substantive mandates of Ohio law.

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    the primary date. Under the circumstances presented here, the answers to first two questions are

    related: holding a general election without a primary would create chaos that would, in turn,

    imperil Ohioans constitutional rights. As for moving the primary date, because there is a right to

    vote in a state primary in this case, this Court also authority to adjust the primary date to protect

    that right.

            A.     Holding a general election without a primary is not feasible and would risk a
                   violation of Ohioans’ First Amendment rights.

            It is unlikely that Ohio could lawfully hold a general election without a primary. As it

    stands, Ohio’s constitution and statutes require a primary. See Ohio Const. art. V, § 7; Ohio Rev.

    Code § 3513.01. To our knowledge, since implementing primaries over a century ago, Ohio has

    never held a general election for its legislative races without first holding a primary. It is unclear

    how such a general election would proceed, if it could proceed at all.

            This raises the distinct possibility that whatever happens will threaten federal constitutional

    rights. For instance, under current law, candidates who belong to a political party would, in the

    absence of a primary, be foreclosed from even appearing on the ballot for a general election. That

    is because state law mandates that “primary elections be held . . . for the purpose of nominating

    persons as candidates for political parties for election to offices to be voted for at the succeeding

    general election.” Ohio Rev. Code. § 3513.01(A). In the absence of a primary, therefore, the only

    candidates who could successfully appear on the ballot for a general election would be those

    candidates who are unaffiliated with any political party. See Ohio Rev. Code § 3513.257

    (prescribing the requirements for “independent candidates” and permitting them to participate in

    a general election without first appearing in a primary). That result would undoubtedly abridge

    voters’ core right under the First Amendment “to engage in association for the advancement of

    beliefs and ideas” and “to cast their votes effectively.” Yang v. Kosinski, 960 F.3d 119, 130 (2d


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    Cir. 2020) (explaining that “[t]he right to associate with the political party of one’s choice is an

    integral part of this basic constitutional freedom [of association],” and that parties “exercise that

    freedom in a number of ways, including through elections to choose their nominees for public

    office”).

            And that is only one symptom of a larger problem that would arise if there were no primary

    this year—a problem that implicates federal rights irrespective of limitations on who may appear

    on a general election ballot. It is beyond dispute that Ohioans have a First Amendment right to

    associate in a political party, which includes the right to select a nominee around which to center

    their political efforts in a general election. See Lightfoot v. Eu, 964 F.2d 865, 872 (9th Cir. 1992)

    (requiring state to justify burdens on nomination process). It necessarily follows that the state

    cannot entirely eliminate the ability of voters to organize privately to choose a nominee. Indeed,

    even undue interference with selection of party leaders who can choose replacement nominees—

    let alone preventing the selection process from occurring at all—violates the First Amendment.

    See Arizona Libertarian Party, Inc. v. Bayless, 351 F.3d 1277, 1281 (9th Cir. 2003) (allowing

    nonparty members to vote for “party leaders who choose replacement candidates for candidates

    who die or resign” is unconstitutional).

            Yet that type of complete prohibition is exactly what failing to hold a primary here would

    accomplish. Ohio has, until now, chosen to hold state-run primaries. That choice is permissible,

    but it has made Ohioans justifiably dependent on the state apparatus. Stripping voters of access to

    the state process at the last minute—thus thrusting them into an unprecedented and unplanned

    election with, at most, months until the general election process begins—would have the same

    practical effect as an outright bar on Democrats and Republicans coalescing around a single

    individual for the general elections. That could not withstand First Amendment scrutiny. Indeed,




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    it is in the face of this risk that the Sixth Circuit has warned a state election that “significantly

    departs from previous state election practice” can “rise to the level of a constitutional deprivation.”

    Warf v. Bd. of Elections of Green Cnty., 619 F.3d 553, 559 (6th Cir. 2010); see also, e.g., Griffin

    v. Burns, 570 F.2d 1065, 1079 (1st Cir. 1978) (holding that the nullification of votes cast by

    absentee and shut-in ballots violated federal rights when those methods had been permitted for

    seven years).

           Given these First Amendment implications, this Court need not decide whether there is any

    general federal right to vote in a state-run primary, or whether Ohio could permissibly repeal its

    primary laws. It is enough that Ohio has created an expectancy of an official primary and that

    canceling it at this juncture would preclude Ohioans from exercising their right to associate in

    advance of the general election.

           B.       Under the Supremacy Clause, this Court can move the date of the primary to
                    preserve the federal right to vote.

           Because the federal constitution protects the right to vote in a state primary under the facts

    present here, this Court has authority under the Supremacy Clause to move the primary date in this

    case. Ohio’s election officials are unable to hold a primary election on the date set by Ohio law,

    May 3, 2022. If that date were later, or if Secretary LaRose had discretion to move it, the plaintiffs’

    federal rights would not be at risk (assuming that either this Court sets an interim plan or Ohio’s

    officials develop one on their own). Thus, the law setting the date of the primary stands as an

    obstacle to the exercise of the federal right to vote in the primary. This is exactly the type of

    “unavoidable conflict” that warrants a federal court exercising its equitable authority to set aside

    state law. Reynolds, 377 U.S. at 584.

           Reflecting this, federal courts have long exercised their equitable authority to move

    election deadlines that act as barriers to the vindication of federal rights. See, e.g., Connor v.


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    Johnson, 402 U.S. 690, 693 (1971) (directing district to extend the filing date for candidates to

    enable election to take place under remedial plan); People Not Politicians Oregon v. Clarno, 472

    F. Supp. 3d 890, 900 (D. Or. 2020) (ordering defendants to either allow plaintiffs’ initiative on

    ballot or extend deadline for signatures); Fair Maps Nev. v. Cegavske, 463 F. Supp. 3d 1123, 1147

    (D. Nev. 2020) (setting aside deadline for ballot initiatives); United States v. Georgia, 892 F. Supp.

    2d 1367, 1378 (N.D. Ga. 2012) (extending ballot receipt deadline); see also, e.g., Beens, 406 U.S.

    at 201 n.11 (“If time presses too seriously, the District Court has the power appropriately to extend

    the time limitations imposed by state law.”); Larios v. Cox, 305 F. Supp. 2d 1335, 1342 (N.D. Ga.

    2004) (three-judge court) (“We also observe that the court has broad equitable power to delay

    certain aspects of the electoral process if necessary”); Petteway v. Henry, 2011 WL 6148674, at

    *3 n.7 (S.D. Tex. Dec. 9, 2011) (“If forced to craft an interim remedy, this court has the authority

    to postpone these local election deadlines if necessary.”).

                                              CONCLUSION

           The Court should continue to allow Ohio officials time to develop a valid map and move

    the primary date. If April 20, 2022, arrives and they have yet to do so, the Court should order

    Secretary LaRose to conduct the primary on August 2, 2022, using the McDonald/Johnson Plan,

    with the corrections submitted by Dr. Gall.



                                                       Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           I certify that on April vv, CuCC, I filed this brief through this Court’s CM/ECF system. All

    participants in this case are registered CM/ECF users and will be served by the CM/ECF system.

                                                                /s/ Matthew W.H. Wessler
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